        Nicholas J. Henderson, OSB#074027
        nhenderson@portlaw.com
        Motschenbacher & Blattner, LLP
        117 SW Taylor St., Suite 300
        Portland, OR 97204
        Telephone: (503) 417-0508
        Facsimile: (503) 417-0528

                  Of Proposed Attorneys for Debtor-in-Possession


                                    UNITED STATES BANKRUPTCY COURT

                                              DISTRICT OF OREGON


         In re:                                               Case No.

                   ERIC SILVA,                                DEBTOR’S APPLICATION FOR
                                                              AUTHORIZATION TO EMPLOY
                                  Debtor.                     BANKRUPTCY COUNSEL
                                                              (Motschenbacher & Blattner LLP)


                  Eric Silva (the “Debtor”), as debtor-in-possession, hereby moves this Court for entry of

        an order authorizing him to employ Motschenbacher & Blattner LLP (“M&B”) as his general

        bankruptcy counsel in this case. In support of this application, the Debtor represents:

                                                  BACKGROUND

                  1.     On October 31, 2019, (the “Petition Date”), the Debtor filed herein a voluntary

        petition under Chapter 12 of the Bankruptcy Code. The Debtor is continuing in the management

        and possession of his business and properties as debtor-in-possession under sections 1207(b). As

        of the date hereof, no trustee or examiner has been requested or appointed in this case, and the

        United States trustee has not appointed an official committee of creditors.

        ///

        ///

Page 1 of 4       DEBTOR’S APPLICATION FOR AUTHORIZATION TO EMPLOY                        MOTSCHENBACHER & BLATTNER LLP
                                                                                            117 SW Taylor Street, Suite 300
                  BANKRUPTCY COUNSEL (Motschenbacher & Blattner LLP)                            Portland, Oregon 97204
{00313756:1}                                                                                     Phone: 503-417-0500
                                                                                                  Fax: 503-417-0501
                                                                                                  www.portlaw.com

                                Case 19-34037-pcm12          Doc 5    Filed 10/31/19
                2.       The Debtor is an individual who owns and operates a dairy farm in Beaver,

        Oregon where he breeds dairy cattle and sells milk.

                3.       M&B commenced rendering prepetition bankruptcy services to the Debtor on

        September 19, 2019. The details concerning M&B’s engagement as bankruptcy counsel, and the

        payments made to M&B in connection with that engagement, are disclosed in the accompanying

        Rule 2014 Statement.

                                                  JURISDICTION

                4.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

        1334 and LR 2100-1. Consideration of this application constitutes a core proceeding within the

        meaning of 28 U.S.C. § 157(b)(2)(A). The statutory predicates for the relief sought by this

        application are sections 327(a) and 1107 of the Bankruptcy Code. Venue is proper under 28

        U.S.C. § 1408.

                                              RELIEF REQUESTED

                5.       By this application, the Debtor seeks entry of an order, effective as of the Petition

        Date, authorizing him to employ M&B as his general bankruptcy counsel in this Chapter 11 case

        on an hourly basis. A proposed form of order is attached as Exhibit 1.

                                          POINTS AND AUTHORITIES

                6.       Subject to further order of this Court, and without being exhaustive, the

        Debtor proposes to engage M&B for purposes of (i) consulting with it concerning the

        administration of the case, (ii) advising it with regard to its rights, powers and duties as a

        debtor in possession, (iii) investigating and, if appropriate, prosecuting on behalf of the

        estate claims and causes of action belonging to the estate, (iv) advising it concerning

        alternatives for restructuring its debts and financial affairs pursuant to a plan or, if

Page 2 of 4     DEBTOR’S APPLICATION FOR AUTHORIZATION TO EMPLOY                             MOTSCHENBACHER & BLATTNER LLP
                                                                                               117 SW Taylor Street, Suite 300
                BANKRUPTCY COUNSEL (Motschenbacher & Blattner LLP)                                 Portland, Oregon 97204
{00313756:1}                                                                                        Phone: 503-417-0500
                                                                                                     Fax: 503-417-0501
                                                                                                     www.portlaw.com

                                Case 19-34037-pcm12           Doc 5    Filed 10/31/19
        appropriate, liquidating its assets, and (v) preparing the bankruptcy schedules, statements

        and lists required to be filed by the Debtor under the Bankruptcy Code and applicable

        procedural rules.

               7.      The Debtor has selected M&B for the reason that he believes the firm is well

        qualified to represent him in this case. M&B has substantial expertise in matters relating to

        bankruptcy and business reorganizations.

               8.      The proposed rate of compensation, subject to this Court’s approval, is the

        customary hourly rates in effect when services are performed by the attorneys and other firm

        personnel who provide professional services to the Debtor. The current hourly rates for those

        persons presently designated to work on this case are as follows:

                     Name                              Status                        Hourly Rate
          Anthony J. Motschenbacher                   Partner                           $425.00
           Christopher C. S. Blattner                 Partner                           $425.00
            Nicholas J. Henderson                     Partner                           $400.00
             Gregory J. Englund                       Partner                           $425.00
               Alex C. Trauman                        Partner                           $400.00
                Troy G. Sexton                       Associate                          $335.00
                Jeremy Tolchin                       Associate                          $315.00
                  Sean Glinka                        Associate                          $315.00
             Legal Assistants and                  Legal Assistant                 $85.00 to $150.00
                   Paralegals

               9.      To the best knowledge of the Debtor, except as disclosed in the accompanying

        Rule 2014 Verified Statement for M&B, M&B does not have any connections with the Debtor,

        creditors, any other party in interest, their respective attorneys or accountants, the United States

        trustee or any person employed in the office of the United States trustee, or any District of

        Oregon bankruptcy judge.




Page 3 of 4     DEBTOR’S APPLICATION FOR AUTHORIZATION TO EMPLOY                           MOTSCHENBACHER & BLATTNER LLP
                                                                                             117 SW Taylor Street, Suite 300
                BANKRUPTCY COUNSEL (Motschenbacher & Blattner LLP)                               Portland, Oregon 97204
{00313756:1}                                                                                      Phone: 503-417-0500
                                                                                                   Fax: 503-417-0501
                                                                                                   www.portlaw.com

                               Case 19-34037-pcm12          Doc 5     Filed 10/31/19
               10.     To the best knowledge of the Debtor, M&B is a disinterested person within the

        meaning of section 101(14) of the Bankruptcy Code and does not represent or hold any interest

        adverse to the interests of the estate or of any class of creditors or equity security holders.

               WHEREFORE, the Debtor requests entry of an order, effective as of the Petition

        Date, authorizing it to employ M&B as its general bankruptcy counsel in this Chapter 12

        case on an hourly basis, with compensation and reimbursement of expenses to be paid as

        an administrative expense in such amounts as the Court may allow under sections 330 and 331 of

        the Bankruptcy Code.

               October 31, 2019                                /s/ Eric Silva_________
                                                               Eric Silva




Page 4 of 4     DEBTOR’S APPLICATION FOR AUTHORIZATION TO EMPLOY                            MOTSCHENBACHER & BLATTNER LLP
                                                                                              117 SW Taylor Street, Suite 300
                BANKRUPTCY COUNSEL (Motschenbacher & Blattner LLP)                                Portland, Oregon 97204
{00313756:1}                                                                                       Phone: 503-417-0500
                                                                                                    Fax: 503-417-0501
                                                                                                    www.portlaw.com

                               Case 19-34037-pcm12           Doc 5     Filed 10/31/19
                           EXHIBIT 1

                    PROPOSED ORDER




{00313756:1}


               Case 19-34037-pcm12   Doc 5   Filed 10/31/19
                                   UNITED STATES BANKRUPTCY COURT

                                            DISTRICT OF OREGON


         In re:                                            Case No.

                   ERIC SILVA,                             ORDER AUTHORIZING EMPLOYMENT
                                                           OF BANKRUPTCY COUNSEL FOR
                                 Debtor.                   DEBTOR (Motschenbacher & Blattner
                                                           LLP)



                  THIS MATTER having come before the Court on the application of Erica Silva, Debtor-

        in-Possession (“Debtor”), for an order authorizing him to employ Motschenbacher & Blattner

        LLP as attorneys for Debtor; the Court having reviewed the motion and accompanying 2014

        statement, and being otherwise duly advised; now, therefore,

        ///

        ///

        ///


Page 1 of 2       ORDER AUTHORIZING EMPLOYMENT OF BANKRUPTCY                         MOTSCHENBACHER & BLATTNER LLP
                                                                                       117 SW Taylor Street, Suite 300
                  COUNSEL FOR DEBTOR (Motschenbacher & Blattner LLP)                       Portland, Oregon 97204
{00313756:1}                                                                                Phone: 503-417-0500
                                                                                             Fax: 503-417-0501
                                                                                             www.portlaw.com

                               Case 19-34037-pcm12       Doc 5    Filed 10/31/19
                   IT IS HEREBY ORDERED as follows:

               1) Debtor’s Application to Employ Counsel is approved, and Debtor is authorized to employ

        the law firm of Motschenbacher & Blattner LLP as of the Petition Date as Debtor’s Chapter 12

        counsel to represent Debtor in conducting the case; and

               2) The Debtor shall pay said attorneys for their services, and shall reimburse expenses

        incurred by said attorneys, only upon the entry of an order of the Court approving such fees and

        expenses under 11 U.S.C § 330, and other applicable provisions of the Bankruptcy Code and

        Local Bankruptcy Rules.

                                                         ###

        Order Presented by:

        MOTSCHENBACHER & BLATTNER, LLP

        /s/ Nicholas J. Henderson
        Nicholas J. Henderson, OSB #074027
        Telephone: 503-417-0500
        E-mail: nhenderson@portlaw.com
        Of Proposed Attorneys for Debtor-in-Possession


                                               PARTIES TO SERVE

        ECF Electronic Service:

                  NICHOLAS J HENDERSON nhenderson@portlaw.com, mperry@portlaw.com
                  US Trustee, Portland USTPRegion18.PL.ECF@usdoj.gov

        Service via First-Class Mail:

                   NONE




Page 2 of 2        ORDER AUTHORIZING EMPLOYMENT OF BANKRUPTCY                             MOTSCHENBACHER & BLATTNER LLP
                                                                                            117 SW Taylor Street, Suite 300
                   COUNSEL FOR DEBTOR (Motschenbacher & Blattner LLP)                           Portland, Oregon 97204
{00313756:1}                                                                                     Phone: 503-417-0500
                                                                                                  Fax: 503-417-0501
                                                                                                  www.portlaw.com

                                 Case 19-34037-pcm12         Doc 5    Filed 10/31/19
                           EXHIBIT 2

               ENGAGEMENT MATERIALS




{00313756:1}


               Case 19-34037-pcm12   Doc 5   Filed 10/31/19
                                                                                               Nicholas J. Henderson
                                                                                 Admitted in Oregon and Washington
                                                                                               Direct: 503-417-0508
                                                                                           nhenderson@portlaw.com
                                                                                                  www.portlaw.com

                                          September 19, 2019


Eric Silva
sunsetcanyonjerseys@gmail.com

         Re:    New Client Information

Dear Eric:

        We are pleased you have retained me and my office to represent you in connection with your
dispute with Key Bank, and possibly with a bankruptcy case. We appreciate this opportunity to serve
your legal needs and look forward to working with you during the course of this representation.

        The establishment of an attorney-client relationship creates significant rights and obligations
for both parties. Furthermore, our acceptance of one client may preclude our representation of others
because of potential conflicts of interest. For these reasons, and to assure that our conflict of interest
records are complete, our client acceptance process is fairly formal.

         This letter, the attached Bankruptcy Attorney-Client Fee Agreement, and the enclosed
“Information for Clients” explain our fee structure, policies, and office procedures. By retaining this
office, you agree to be bound by the terms set forth on this enclosure. I have also enclosed a
document titled “Attorney-Client Privilege,” which contains information on the preservation of the
confidential nature of our relationship with you.

        We have requested and have received a retainer of $20,000.00 for the bankruptcy filing fee,
and for an initial payment towards the Firm’s services in this matter. Please note that the fees for the
bankruptcy case will likely exceed the amount of the retainer that has been received. You will
receive an itemized statement of fees and costs.

       Your retainer deposit has been placed in our client trust account, and we will draw against the
funds on deposit to pay our invoices for fees and expenses. Additional information on our client trust
account procedures is enclosed.

        In providing legal counsel to the business, we will view the company itself as our client, and
not any individual owners, directors, officers or managers, nor any company affiliates (such as
parent, subsidiary, or other related entities). Our ethical duties run to Business Name only, and
separate counsel will be required if a dispute arises between the company and any of its owners.

        This letter and the enclosed “Information for Clients” explain our fee structure, policies, and
office procedures. By retaining this office, you agree to be bound by the terms set forth on this
enclosure. I have also enclosed a document titled “Attorney-Client Privilege,” which contains
{00299992:2}


                        Case 19-34037-pcm12           Doc 5      Filed
                                                                   Doc 10/31/19
                                                                       ID: d5b1c621ab70822f194b91d36de9afce3591b51a
MOTSCHENBACHER & BLATTNER                LLP


     September 19, 2019
     Page 2


     information on the preservation of the confidential nature of our relationship. I am also enclosing a
     map showing our office location, nearby parking, and directions.

              Currently, my time is charged at $400.00 per hour and hourly rates for associates range from
     $315.00 to $335.00. The hourly rates for legal assistants range from $185.00 to $150.00. I will
     utilize associates and legal assistants as much as appropriate to keep your legal bill as low as
     possible.

             My direct dial telephone number is (503) 417-0508. That number will always reach me or
     my voice mailbox. You can leave messages at that number at any time. If you reach my voice
     mailbox but would prefer to speak to an operator, press 0. I do my best to return all telephone calls
     within 24 hours.

              If I am unavailable and you need immediate help, please call my assistant, Mary, and she will
     try to reach me or arrange for another attorney in the firm to contact you. Mary’s direct dial number
     is 503-417-0511. Mary also has access to my calendar and can schedule appointments for you.

             We have found that our effective representation of a client’s interest is critically dependent
     upon a foundation of mutual trust and confidence. The quickest way for that foundation to erode is
     for a misunderstanding to arise. Most misunderstandings, if frankly addressed, can be easily
     remedied. If you ever have a concern regarding the progress of any matter we are handling for you,
     or if you have any questions regarding our statements, please do not hesitate to contact me.

                                                                        Very truly yours,

                                                                        MOTSCHENBACHER & BLATTNER LLP



                                                                        Nicholas J. Henderson


     I agree to the terms and conditions of engagement set forth above, and in the attached documents:



     ________________________________
     By: Eric Silva, Client
     Enclosures:    Attorney-Client Privilege
                    Information for Clients
                    Services & Credentials
                    Attorney Résumés
                    Statement of Policy Concerning Federal Tax Advice
                    IOLTA Pamphlet
                    Map




     {00299992:2}


                                 Case 19-34037-pcm12                         Doc 5     Filed
                                                                                         Doc 10/31/19
                                                                                             ID: d5b1c621ab70822f194b91d36de9afce3591b51a
                BANKRUPTCY ATTORNEY-CLIENT FEE AGREEMENT
                               (Chapter 12)

CLIENT:                Eric Silva, dba Sunset Canyon Jerseys

ATTORNEY:              Nicholas J. Henderson

FIRM:                  Motschenbacher & Blattner, LLP ("Firm")

DATED:                 September 18, 2019

        Client desires to retain Attorney for, but not limited to, the purposes described in this
Agreement and agrees to be responsible for payment of the Attorney's fees and costs as
established in this Agreement. Attorney agrees to represent Client under the terms and
conditions of this Agreement and to be compensated at the rates set forth in this Agreement.

        Client requests and the Attorney agrees to render professional services, including (a)
giving the Client legal advice with respect to its business operations; (b) assisting the Client in
any proposed reorganization of its business; (c) if authorized, filing an appropriate petition for
relief under Title 11 of the United States Bankruptcy Code; (d) giving the Client legal advice
with respect to its powers and duties in any proceeding in bankruptcy; (e) proposing on behalf of
the Client all necessary applications, answers, orders, reports or other legal papers; and (f)
performing for the Client any and all other legal services which may be necessary in connection
with the filing of any petition or proceeding in bankruptcy.

        Client and Attorney agree that the Attorney’s compensation for services performed
pursuant to this Agreement shall be the Attorney’s customary hourly rates in effect at the time
the services are performed for the Attorneys, legal assistants and staff who provide services for
the Client. At the time of the execution of this Agreement, the current hourly rates are as follows:


                      NAME                                      RATE
               Nicholas J. Henderson                          $400.00/hr.
               Alexander C. Trauman                           $400.00/hr.
               Troy G. Sexton                                 $335.00/hr.
               Jeremy Tolchin                                 $315.00/hr.
               Sean Glinka                                    $315.00/hr.
               Legal Assistants                               $85.00-150.00/hr.

        These hourly rates are subject to periodic adjustment to reflect economic conditions and
increased experience and expertise in this area of law. Attorney's time and paralegal time is
billed in minimum 0.10 hour increments. Client will be provided with itemized monthly
statements for services rendered and expenses incurred, which will be mailed on approximately
the 10th of each calendar month.




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                       Case 19-34037-pcm12          Doc 5     Filed
                                                                Doc 10/31/19
                                                                    ID: d5b1c621ab70822f194b91d36de9afce3591b51a
        Fees. Attorney and Client agree that the actual fees to be incurred in the case are
difficult to predict, because of a variety of factors, many of which are not within the control of
Attorney or Client. Attorney and Client acknowledge that the Bankruptcy Court is entitled to
review Attorney’s fees for reasonableness. The Bankruptcy Court may reduce the amount of the
fees billed in such amount that it determines reasonable based on the totality of the
circumstances, including a consideration of the reasonableness of the fees based on the
circumstances which existed at the time the employment began, as well as a consideration of the
reasonableness of the fee after the services have been rendered and the representation has
concluded. If the Bankruptcy Court requires a reduction in the amount of any fees charged,
Attorney and Client agree that all other terms and conditions of this fee agreement shall continue
to apply.

        Attorney and Client agree that the existence of this Agreement shall be adequately
disclosed to the Court and other interested parties, including but not limited to the United States
Trustee. The retainer amount shall be $20,000, which includes the amount of the filing fee for
Chapter 12. As set forth elsewhere in this Agreement, Attorney shall have the option to require
Client to perform various mailings and advance other significant costs as they become due from
the Client's ongoing income.

        In addition to the foregoing hourly rates, Client agrees to be responsible for payment of
all costs incurred in representing the Client. Examples of such costs include filing fees, court
reporter fees, long distance telephone, photocopies (whether made in the Attorney's office or an
outside printing service), etc. The Attorney's “Expense Policy Statement” is attached as Exhibit
"A."

       Client has been informed and acknowledges that Attorney has no responsibility to hire
outside professionals such as appraisers, accountants, bookkeepers, expert witnesses, etc., unless
those costs are paid in advance by the Client to the Attorney.

        All professionals must also be approved by the Bankruptcy Court before starting work,
or the Court will deny payment to the professional.

        Attorney shall have the option, but not the duty, to proceed with representing Client prior
to payment of the above described retainer. If Attorney performs services prior to receipt of the
retainer, the Attorney may withdraw from representing the Client at any time prior to payment of
the agreed retainer.

        Client agrees to cooperate with Attorney, to complete all forms requested by the Attorney
and to provide the Attorney with all information necessary to enable the Attorney to represent
the Client's best interests. If Client unreasonably declines to cooperate, or should knowingly
provide the Attorney with false or fraudulent information or testify untruthfully in any matter
before the Court, the Client agrees that Attorney shall have the right to immediately resign. If
permitted by law, should either party find it necessary to take steps to enforce this Agreement,
the costs of doing so, including reasonable Attorney fees both before trial, at trial or after appeal,
as determined by the Court, will be borne by the losing party.



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                       Case 19-34037-pcm12          Doc 5     Filed
                                                                Doc 10/31/19
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        Client acknowledges that Attorney has advised that the actual Attorney's fees and
expenses, considering the size and complexity of case, will be substantial. Client acknowledges
that the Attorney has advised that under the rules of the Bankruptcy Court, the Attorney has the
right to submit an application for payment of fees to the court in accordance with the court's
rules, which will be done as frequently as court rules permit. Such petitions for fees, when
approved, will be paid from the Client's post-petition income.

        Attorney strives to keep Client informed of the work Attorney is performing, and
Attorney stands ready to explain its services and invoices to Client’s satisfaction. If Client ever
has questions regarding Attorney’s charges, please let Attorney know immediately so that
Attorney can attempt to resolve any concerns fairly and without delay. Also, if Client has a
particular need relative to Attorney’s invoicing (e.g., the billing format or timing of delivery),
please let Attorney know and Attorney will try to accommodate the Client.

        Client may terminate the attorney/client relationship at any time and for any reason by
delivering to Attorney a written notice of termination. Attorney also reserves the right to
terminate the attorney/client relationship, by delivering to Client a written notice, if Client fails
to pay Attorney when due any amount Client owes Attorney, if Client fails to cooperate with
Attorney or to disclose to Attorney material information, or if for any other reason Attorney feels
Attorney is unable to continue an effective attorney/client relationship, in each case, to the extent
permitted by the applicable rules of professional conduct, and subject to any applicable rules
requiring notice and Court approval. Upon any termination, Client will remain liable for all fees,
costs and expenses incurred prior to the termination of the attorney/client relationship. Upon
termination, Attorney will provide Client with the original or a copy of all Client’s files in
Attorney’s possession, retaining a copy for Attorney in Attorney’s discretion and at Attorney’s
cost. Once Attorney’s representation is terminated, Attorney will have no obligation to inform
Client of due dates, subsequent developments or the like, or to maintain any documents or
dockets relating to Client’s matters.

       Attorney appreciates the opportunity to serve as Client’s attorneys and anticipates a
productive and harmonious relationship. If, however, Client becomes dissatisfied for any reason
with the services Attorney has performed or Client disputes any of the fees, costs or expenses
charged by Attorney, Attorney encourages Client to bring that dissatisfaction or dispute to
Attorney’s attention at the earliest possible time. Most problems should be rectifiable through
such communication. However, should a dispute arise between Attorney and/or Client which
cannot be resolved in that manner, then the Bankruptcy Court will resolve the dispute.

        A solid attorney/client relationship is a two-way street. Lawyers need timely and
complete cooperation and assistance from their clients just as clients need timely and complete
cooperation and assistance from their lawyers. Attorney will therefore endeavor to keep Client
informed of Client’s matters as they progress. Similarly, Client agrees to provide Attorney with
timely responses to requests for documentation and information and to make available to
Attorney personnel in order that Attorney may effectively carry out its function as Client’s
attorneys. Bear in mind that if Attorney does not obtain such cooperation, the quality of




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                      Case 19-34037-pcm12           Doc 5    Filed
                                                               Doc 10/31/19
                                                                   ID: d5b1c621ab70822f194b91d36de9afce3591b51a
Attorney’s representation may suffer and Attorney may feel constrained to withdraw from any
further work.

     THE ATTORNEY DOES NOT UNDERTAKE TO GIVE THE CLIENT TAX
ADVICE. CLIENT AGREES TO CONSULT ITS OWN ACCOUNTANT OR
COMPETENT TAX COUNSEL, WITH RESPECT TO ALL TAX ISSUES.

         DATED:


ATTORNEY:                                          CLIENT:

MOTSCHENBACHER & BLATTNER, LLP



By:                                                By:
      Nicholas J. Henderson                              Eric Silva, dba Sunset Canyon Jerseys


Attachments:                                                       Initial If Rec’d:

                A.   Expense Policy Statement (Exhibit A)




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                       Case 19-34037-pcm12       Doc 5      Filed
                                                              Doc 10/31/19
                                                                  ID: d5b1c621ab70822f194b91d36de9afce3591b51a
                                       EXHIBIT “A”
                            Attorney's Expense Policy Statement

Photocopies:        $0.10 per page (in house)

Fax:                Incoming No Charge; outgoing (including long distance) at actual
                    telephone charges.

Outside Services:   All outside entity bills are charged at actual cost.

Postage:            Postage, express mail and other overnight delivery or air courier services
                    are charged at actual cost.

Long Distance:      Long distance telephone charges are billed to Clients at actual cost.

Computerized
Research:           Actual (i.e., invoiced) cost. Time associated with computerized research to
                    be specifically identified on attorney time detail.

Travel:             Travel expenses are actual and Air fare is coach or economy class only.
                    Other expenses are actual and do not include limos. Mileage is charged at
                    the rate of allowed for federal tax deductions.

Other Personnel
Charges:            Secretarial overtime is charged to Clients at $30.00 per hour if the
                    overtime work is due to time constraints mandated by the case or the
                    Client, not to exceed the employee’s actual hourly compensation cost to
                    the firm.

Pacer:              Actual cost ($0.10 per page).

Other:              Any charges not mentioned above will be charged in accordance with the
                    applicable U.S. Bankruptcy Court Cost Guidelines contained in
                    Bankruptcy Rule 2016.




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                    Case 19-34037-pcm12          Doc 5     Filed
                                                             Doc 10/31/19
                                                                 ID: d5b1c621ab70822f194b91d36de9afce3591b51a
                              ATTORNEY-CLIENT PRIVILEGE

        Communications between lawyers and their clients are generally privileged. Disclosure
of confidential communications between a lawyer and client cannot be compelled at trial or in a
deposition.

         The evidentiary privilege attaching to attorney-client communications is a significant
advantage in open communications with our clients. Neither you nor we can be compelled to
testify regarding privileged communications, and in most cases we are ethically prohibited from
disclosing your secrets and confidences without your consent.

         You should be aware, however, that the attorney-client privilege is easily lost. Any
voluntary disclosure of a significant part of a privileged communication will waive the
privilege. For example, if you show a letter from your lawyer to a non-client business associate
or relative, the privilege may be destroyed and the communication could become subject to
discovery and examination at trial. Oral disclosure or forwarding an e-mail may also destroy the
privilege.

       In order to preserve the privilege, we and you must take reasonable precautions to avoid
disclosure. We therefore discourage discussion of confidential information over cellular or
portable telephones (including retrieval of confidential voice mail messages by cellular
telephone). Our office voice mail system is secure, but caution requires that voice mail
messages not include confidential information. Internet communications (e-mail) should be
encrypted or limited to non-confidential matters.

        We are ethically and legally obligated to maintain your confidences and keep your
secrets. We will do so. Attorney-client confidentiality is second nature to those of us in the
business of providing legal services. This memorandum is to ensure that you, too, are aware of
the importance of maintaining our communications in confidence in order to preserve the
privilege and ensure that disclosure of our communications cannot be compelled.

       Please let us know if you have questions about the nature of the attorney-client privilege.




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                                                                                                                  3/31/2016



                      Case 19-34037-pcm12         Doc 5     Filed
                                                              Doc 10/31/19
                                                                  ID: d5b1c621ab70822f194b91d36de9afce3591b51a
                                      INFORMATION FOR CLIENTS
MOTSCHENBACHER & BLATTNER LLP is pleased to have the opportunity to serve you. This memorandum
contains information about our standard client service practices and billing procedures that will apply to your
account unless we have agreed otherwise in writing. Your request of legal services from MOTSCHENBACHER &
BLATTNER LLP indicates your acceptance of these terms. We strive to ensure that legal services are delivered
effectively, efficiently, and professionally and that all billings are accurate and understandable. Please feel free to
call us with any questions you may have.

Personnel                                                       reputation, and abilities of the lawyers serving you;
                                                                past investment in developing files and data; the
One lawyer will be assigned primary responsibility
                                                                amount at issue; the results obtained; and time
for your legal needs. Additional lawyers may assist
                                                                limitations imposed by you or by the circumstances of
from time to time when appropriate. We assign
                                                                the matter. Hourly rates of our lawyers and legal
lawyers and other personnel on the basis of
                                                                assistants reflect fees generally charged in the
experience, expertise, and the nature and scope of the
                                                                Northwest based on the lawyers' experience and
issues. This provides you with an appropriate level of
                                                                expertise. Premium rates will apply to rush projects.
expertise within the firm while minimizing the cost to
                                                                We may modify our rates from time to time and will
you. We also utilize law clerks, paralegals, and legal
                                                                provide you notice of any change. A statement of
assistants to perform routine services, such as
                                                                rates is available at any time upon request.
information gathering, form preparation, and
research. These services are supervised by an                   Costs and Expenses
experienced attorney, but can be billed at
                                                                M&B may from time to time advance or incur costs
substantially lower rates.
                                                                and expenses on your behalf that we will charge to
Conflicts of Interest                                           you. Examples include court filing fees, deposition
                                                                or transcript fees, investigator’s fees and expenses,
The ethical rules governing the conduct of attorneys
                                                                consulting or expert witness fees and expenses, title
include specific limitations relating to conflicts of
                                                                company reports, long distance telephone charges,
interest. We will always comply with all ethical rules
                                                                photocopying, printing, computerized legal research,
and will undertake our role with the highest integrity.
                                                                travel expenses, messenger services, project staff,
As a result, we have performed a name check of our
                                                                legal assistant overtime, postage, and other similar
other clients to determine if our representation of you
                                                                costs. We do not seek to profit on these types of
would create such a conflict of interest. That check
                                                                expenses, but rather charge on a cost (including labor
was done using your name and other names you
                                                                and overhead) recovery basis only. Out-of-pocket
provided before we commenced working with you.
                                                                expenses paid to third parties on behalf of our clients
Please inform us immediately if you use other names
                                                                are charged to the client without markup except as
or have affiliated companies that you want entered
                                                                may be necessary to recover related labor and
into our conflicts system.
                                                                overhead. Although out-of-pocket expenses are your
Basis for Fees                                                  responsibility and we assume no liability for payment,
                                                                M&B may act on your behalf by advancing payment
Our fees are based upon a variety of factors,
                                                                to these providers if your account is current. We will
depending on the nature of the representation. The
                                                                consult with you prior to entering into any
principal factor is usually time spent on the matter.
                                                                commitments for substantial expense items.
You should expect to be charged for all time devoted
to the initial consultation through the conclusion of           For administrative convenience, if a client has
the project, including office conferences, telephone            multiple matters open with our firm, costs and
discussions, correspondence, review of documents                expenses may be charged to the general matter
and correspondence, research, travel, and any other             account unless other arrangements are requested.
time expended on your behalf. Other factors, in
addition to time, can include the novelty and
difficulty of the questions involved; the experience,




                          Case 19-34037-pcm12                Doc 5      Filed
                                                                          Doc 10/31/19
                                                                              ID: d5b1c621ab70822f194b91d36de9afce3591b51a
Estimates                                                   Credit Reports
Clients sometimes request estimates of the fees and         We retain the right to intermittently obtain credit
costs, and we are pleased to provide a good faith           reports on you and your company and to inform
estimate of the amounts that are likely to be involved.     credit-reporting agencies regarding your account with
However, most legal work is inherently                      us.
unpredictable, and the total time, fees and costs that
                                                            Personal Guaranty
will be required to complete a project is subject to
many factors beyond our control. Our estimates,             All fees and costs incurred on behalf of clients that
therefore, are not binding bids or limitations on the       are entities are personally guaranteed by the owners
fees and expenses involved. Any fixed fee or other          of the entity.
fee limitation agreement must be in writing.
                                                            Monthly Invoices
Retainer Deposits
                                                            M&B typically bills monthly, with our monthly
Retainer deposits are required for various types of         billing cycle ending on the last day of each calendar
representation to partially secure payment of fees and      month. Our statements are mailed shortly thereafter
expenses. Retainer deposit moneys received from             and are payable in full upon receipt. Other billing
you will be placed in our client trust account, which       arrangements must be specifically provided for in
conforms to the rules and regulations of the Oregon         advance in our retainer agreement. A statement of
and Washington State Bars relating to IOLTA-                account will be forwarded to you automatically each
Interest on Lawyer's Trust Accounts. If you have a          month if you have any outstanding invoices. For
retainer on deposit with us, we will draw against it to     matters involving multiple clients (e.g. husband and
satisfy our monthly statements for legal services           wife) responsibility for payment is joint and several.
rendered and out-of-pocket expenses. We reserve the         If you have any questions about the status of your
right to request additional retainer deposits as needed.    account, please contact us immediately.
If a request for an additional retainer deposit is not
                                                            For most of our clients, our invoices include the date
satisfied within the time specified, we reserve the
                                                            and description of the services provided and the
right to withdraw from representing you.
                                                            amount charged based upon the time equivalent value
Privacy Policy                                              of the task accomplished.           Time charges are
                                                            calculated in tenths of an hour, with a minimum
Attorneys, like other professionals who advise on
                                                            charge of 0.2 hour. We attempt to provide a
personal financial matters, are now required by
                                                            reasonable amount of detail; however, we do not
federal law to inform clients of their policies
                                                            undertake to provide precise and exhaustive detailing
regarding privacy of client information. Attorneys
                                                            of each and every act on behalf of a client. Please
are bound by professional standards of confidentiality
                                                            feel free to talk with us about the amount of detail and
that are even more stringent than those required by
                                                            format you desire for your invoices.
this new law. Therefore, we always protect your right
to privacy.                                                 Payment for Services
In the course of providing our clients with financial       Payment for services rendered is due upon receipt of
and tax advice, we receive significant personal             our statement for services. M&B accepts payment in
financial information from our clients.            All      cash or check and also accepts payment by Visa or
information that we receive from you is held in             Mastercard credit cards. If payment or a retainer
confidence, and is not released to people outside the       deposit is made by credit card, a 3% service charge
firm, except as agreed to by you, or as required under      will be applied to payments or deposits in excess of
an applicable law.                                          $1,000.00.
We retain records relating to professional services         Delinquent Accounts
that we provide so that we are better able to assist you
                                                            M&B, like other businesses, has substantial cash
with your professional needs and, in some cases, to
                                                            demands that require the firm to borrow money if its
comply with professional guidelines. In order to
                                                            accounts are not paid promptly. Thus, we add a late
guard your nonpublic personal information, we
                                                            payment charge to accounts not paid within thirty
maintain physical, electronic, and procedural
                                                            days of the invoice date. The late payment charge is
safeguards that comply with our professional
                                                            currently assessed at a standard rate of 1.5% per
standards.
                                                            month (18% annual rate) on any unpaid balance. In
                                                            the event that an account becomes delinquent, the


Page 2 – INFORMATION FOR CLIENTS                                                I:\Admin\New Client\_2016\Information for Clients.doc
                                                                                                                              3/31/16

                           Case 19-34037-pcm12             Doc 5    Filed
                                                                      Doc 10/31/19
                                                                          ID: d5b1c621ab70822f194b91d36de9afce3591b51a
firm must employ the same prudent collection
procedures used by other businesses. We will cease
providing legal services for any client having an
outstanding balance for 60 days or more. If any suit,
action, arbitration or other proceeding is commenced
to collect from you, the prevailing party will be
entitled to an award against the other party for
reasonable attorney fees and costs incurred in
collection. We reserve all liens and security interests
allowed by law and reserve the right to disclose your
personal financial information to third parties to
collect a delinquent account.
Governing Law
The parties agree that any suit, action, arbitration, or
other claims filed for collection or otherwise shall be
brought and construed in accordance with the laws of
the State of Oregon and the parties submit to the
exclusive jurisdiction of any state or federal court
located in Oregon.
Termination of Services
You may terminate the employment of our firm at any
time, subject to the payment of any outstanding fees
and costs. Likewise, we retain the right to cease
performing legal services and to terminate our
representation of you for any reason consistent with
the applicable ethical rules, including unanticipated
conflicts of interest or nonpayment of legal fees and
expenses incurred on your behalf. In the event of
termination, we may obtain a lien upon any of your
documents in our possession, or upon the proceeds of
any judgment or settlement entered in your favor,
until payment in full is received.
File Retention
When we have completed work on a legal matter, we
will close the matter, electronically store the paper
file, and then destroy the paper file unless you
provide other disposition instructions at the time of
closing the matter. Closed paper and electronic files
will not be stored indefinitely.




Page 3 – INFORMATION FOR CLIENTS                                            I:\Admin\New Client\_2016\Information for Clients.doc
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                           Case 19-34037-pcm12             Doc 5   Filed
                                                                     Doc 10/31/19
                                                                         ID: d5b1c621ab70822f194b91d36de9afce3591b51a
                                  UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF OREGON
In re                                      )
                                           ) Case
                                              Case No.
                                                   No. ______________
Eric L. Silva,                             )
                                           ) RULE
                                              RULE2014
                                                    2014VERIFIED
                                                         VERIFIED STATEMENT
                                                                  STATEMENT
Debtor(s)                                  ) FOR
                                              FORPROPOSED
                                                  PROPOSEDPROFESSIONAL
                                                              PROFESSIONAL
                                              (Motschenbacher & Blattner LLP)
Note: To
Note:  Tofile
           filean
                anamended
                   amendedversion
                           versionofofthis
                                       thisstatement
                                            statementper
                                                       per1119,
                                                           ¶19, file
                                                                file aa fully
                                                                        fullycompleted
                                                                              completedamended
                                                                                         amended Rule
                                                                                                 Rule 2014
                                                                                                      2014
                    #1114and
statement on LBF #1114    andclearly
                              clearlyidentify
                                       identify any
                                                any changes
                                                    changes from
                                                             from the
                                                                    the previous
                                                                         previous filed
                                                                                  filed version.

 1.
 1. The applicant is not a creditor of the debtor except:
        N/A

 2. The applicant
        applicant is not an equity
                            equity security holder of the debtor.

 3. The applicant is not a relative
                           relative of
                                    of the
                                       the individual
                                            individual debtor.

 4. The applicant is not a relative of a general
    The applicant                                partner of the debtor (whether
                                         general partner               (whether the
                                                                                the debtor
                                                                                    debtor is
                                                                                           is an individual,
    corporation, or partnership).

 5. The  applicant is not a partnership in which the debtor (as an individual, corporation, or partnership)
    The applicant
    is a general partner.

 6. The applicant
        applicant is not a general
                           general partner
                                   partner of
                                           of the
                                              the debtor (whether
                                                         (whether debtor
                                                                  debtor is
                                                                          is an
                                                                             an individual, corporation, or
    partnership).

 7. The applicant
        applicant is
                  is not aa corporation
                            corporation of which the debtor
                                                     debtor is
                                                            is aa director,
                                                                  director, officer,
                                                                            officer, or
                                                                                     or person in
                                                                                               in control.
                                                                                                  control.

 8. The applicant
         applicant is not and was not,
                                    not, within
                                         within two years before the date of
                                                                          of the
                                                                             the filing
                                                                                  filing of the petition,
                                                                                                petition, a
    director, officer,
              officer, or
                       or employee of the debtor.

 9. The applicant
        applicant is not a person
                           person in
                                  in control
                                     control of the debtor.

10. The applicant
        applicant is not aa relative
                            relative of
                                     of aa director,
                                           director, officer
                                                     officer or
                                                             or person in
                                                                       in control of the debtor.

11. The applicant is not the managing agent of the debtor.

12. The applicant is not and was  was not
                                      not an
                                           an investment
                                               investment banker
                                                             banker for for any
                                                                            any outstanding
                                                                                 outstanding security
                                                                                               security of the debtor;
    has not been, within
                     within three years before the the date
                                                        date of
                                                              of the
                                                                  the filing
                                                                       filing of the petition, an investment banker
          security of the debtor, or an
    for a security                       an attorney
                                            attorney for
                                                       for such
                                                           such an an investment
                                                                        investment banker
                                                                                     banker inin connection
                                                                                                 connection with the
                                     security of the debtor; and is not and was not, within two years before
    offer, sale, or issuance of a security
        date of
    the date  of the
                 the filing
                      filing of the petition, a director, officer,
                                                           officer, or
                                                                    or employee
                                                                          employee of such an investment banker.

13. The applicant
        applicant has
                   has read
                        read 11
                             11 U.S.C.
                                 U.S.C. §101(14)  and §327,
                                        §101(14) and  §327,and
                                                            and FRBP
                                                                  FRBP2014(a);
                                                                          2014(a);and
                                                                                    andthe
                                                                                        theapplicant's
                                                                                            applicant’s firm
                                                                                                        firm
    has no connections with the debtor(s), creditors, any party in interest,
                                                                   interest, their respective
                                                                                   respective attorneys and
    accountants, the United States Trustee,
                                     Trustee, or
                                              or any person employed in the office of the United States
             or any
    Trustee, or any District
                    District of Oregon Bankruptcy Judge, except
                                                            except asas follows:
                                                                         follows:
        N/A




1114
1114 (11/30/09)   Page11 of
      (11/30/09) Page    of 3

                              Case 19-34037-pcm12             Doc 5      Filed 10/31/19
14.      applicant has no interest
14. The applicant          interest materially
                                     materially adverse
                                                adverse to
                                                        to the
                                                           the interest
                                                               interest of
                                                                        of the
                                                                           the estate
                                                                               estate or
                                                                                      or of any class of
    creditors or equity security holders.

15.                                    made to
15. Describe details of all payments made     to you
                                                 you by
                                                      by either
                                                         either the the debtor
                                                                        debtor or
                                                                                or aa third
                                                                                       third party for any services
             on the
    rendered on the debtor's
                     debtor's behalf
                               behalf within
                                      within aa year
                                                year prior
                                                     prior to
                                                            to filing
                                                                filing of this case:
Debtor paid a retainer in the amount of $20,000 on September 19, 2019. $12,213.00 applied on October
31, 2019 for prefiling services. Balance, less filing fees, held in trust.




16.
16. The debtor has the following
                        followingaffiliates
                                  affiliates(as
                                             (asdefined
                                                 definedby by11
                                                              11U.S.C.
                                                                 U.S.C.§101(2)).  Please list
                                                                        §101(2)). Please  list and explain
    the relationship between the debtor and the
                                              the affiliate:
                                                  affiliate:
     N/A




17.     applicant is not an affiliate of the debtor.
17. The applicant

18.
18. Assuming any affiliate of the debtor
                                    debtor isis the
                                                 the debtor
                                                     debtor forfor purposes
                                                                    purposesofofstatements
                                                                                 statements4-13,
                                                                                              4-13, the statements
    continue to be true except (list
                                (list all circumstances
                                          circumstances under which proposed counsel or counsel's law
    firm has represented any
                         any affiliate
                               affiliate during the past 18   18 months;
                                                                    months; any position
                                                                                position other than legal counsel
    which proposed
    which    proposed counsel
                      counsel holds
                                holds in     either the
                                         in either    the affiliate,
                                                            affiliate, including
                                                                        including corporate
                                                                                   corporate officer,
                                                                                               officer, director,
                                                                                                        director, or
                    any amount
    employee; and any   amount owed
                                  owed by by the
                                              the affiliate
                                                   affiliate to
                                                              to proposed
                                                                   proposed counsel
                                                                             counsel or its law firm at the time of
    filing, and amounts paid within 18 months
                                          months before
                                                     before filing):
                                                               filing):
     N/A




19. The applicant hereby
19. The            hereby acknowledges
                            acknowledges that
                                          that he/she
                                               he/she has
                                                        has aaduty
                                                              duty during
                                                                    during the progress of the case to keep
    the court informed of any change in the statement of facts which appear in     in this verified statement.
    In the event
           event that
                  that any
                       any such
                            such changes
                                  changes occur,
                                           occur, the
                                                   the applicant
                                                        applicant immediately
                                                                   immediately shall file with the court an
               verified statement on LBF #1114,
    amended verified                      #1114,with
                                                   with the
                                                         the caption
                                                             caption reflecting
                                                                      reflecting that itit is
                                                                                           is an
                                                                                              an amended Rule
    2014 statement
    2014  statement and
                      and any
                           any changes
                               changes clearly
                                       clearly identified.
                                                identified.

THE FOLLOWING QUESTIONS NEED
                        NEED BE
                             BE ANSWERED
                                ANSWERED ONLY
                                         ONLY IF
                                              IF AFFILIATES
                                                 AFFILIATES HAVE BEEN LISTED
IN STATEMENT 16.

20. List the name of any affiliate which has ever
                                             ever filed
                                                  filed bankruptcy, the filing date, and court where filed:
    N/A




1114
1114 (11/30/09)   Page22 of
      (11/30/09) Page    of 3

                              Case 19-34037-pcm12          Doc 5     Filed 10/31/19
21. List the names of any affiliates which have
                                              have guaranteed  debt of the debtor or whose debt the debtor
                                                    guaranteed debt
    has guaranteed.     Alsoinclude
         guaranteed. Also    include the
                                     the amount of the guarantee, the date of the guarantee,
                                                                                   guarantee, and whether
          security interest
    any security    interestwas
                              was given
                                   given to
                                          to secure
                                             secure the
                                                      the guarantee.   Only name
                                                          guarantee. Only   name those
                                                                                   those guarantees
                                                                                         guarantees now
                                                                                                      now
    outstanding or outstanding within
                                   within the
                                          the last 18 months:
    N/A




    List the names of
22. List                of any
                           any affiliates
                               affiliates which have aa debtor-creditor
                                                          debtor-creditor relationship
                                                                          relationship with
                                                                                         withthe
                                                                                               the debtor.  Also
                                                                                                    debtor. Also
    include the
    include  the amount
                    amount and
                             and date
                                  date ofof the loan, the amount
                                                           amount of any repayments
                                                                           repayments on  on the   loan and the
                                                                                              the loan
    security, ifif any. Only name
                   any. Only  namethose
                                      thoseloans
                                             loansnow
                                                   nowoutstanding
                                                        outstanding or
                                                                    or paid
                                                                       paid off
                                                                             off within
                                                                                 within the last 18 months:
                                                                                                     months:
    N/A




23. List any security interest in
                                in any property
                                         property granted by the debtor to secure any debts of any affiliate
    not covered
    not  covered inin statements
                      statements 2020 and 21. List Listany
                                                        anysecurity
                                                            security interest
                                                                       interest in
                                                                                 in any
                                                                                    any property
                                                                                         property granted by the
    affiliate to
              to secure
                 secure any debts
                             debts of
                                    of the
                                        the debtor
                                             debtor not
                                                     notcovered
                                                         coveredin instatements
                                                                      statements21   21 and
                                                                                        and 22.  Also include
                                                                                            22. Also  include the
    collateral, the
    collateral,  the date and nature of the the security
                                                 security interest,
                                                          interest, the
                                                                     the name of the the creditor
                                                                                         creditor to whom it was
    granted, and thethe current
                        current balance
                                balance of of the
                                              the underlying
                                                  underlying debt:
    N/A




24. List the name of any
             name of any affiliate
                         affiliate who
                                   who is
                                        is potentially
                                           potentially aa "responsible
                                                          "responsible party" for
                                                                              for unpaid
                                                                                  unpaid taxes of the debtor
    under  26 U.S.C.
    under 26 U.S.C.  §6672:
    N/A




I verify that the above statements are true to the extent of my present knowledge and belief.


                                                                   /s/ Nicholas J. Henderson
                                                                   _______________________________
                                                                                    Applicant

1114
1114 (11/30/09)   Page33 of
      (11/30/09) Page    of 3

                             Case 19-34037-pcm12          Doc 5    Filed 10/31/19
